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                                          U.S. Department of Justice
[Type text]
                                                    United States Attorney
                                                    Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    December 18, 2020

BY ECF

The Honorable Alison J. Nathan
United States District Judge
Southern District of New York
United States Courthouse
40 Foley Square, Courtroom 1306
New York, New York 10007

   Re:     United States v. Ali Sadr Hashemi Nejad, 18 Cr. 224 (AJN)

Dear Judge Nathan:

        The Government respectfully submits the attached letter, which it filed today in United
States v. Jain, 19 Cr. 59 (PKC), to update the Court on its efforts to address disclosure-related
issues.

                                            Respectfully submitted,

                                            AUDREY STRAUSS
                                            Acting United States Attorney


                                         by: _____________________________
                                             JOHN M. McENANY
                                             Associate United States Attorney
                                             (212) 637-2571
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                                          U.S. Department of Justice
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                                                     United States Attorney
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                                                     One Saint Andrew’s Plaza
                                                     New York, New York 10007


                                                     December 18, 2020

BY ECF

The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

   Re:     United States v. Niket Jain, 19 Cr. 59 (PKC)

Dear Judge Castel:

        We respectfully submit this letter pursuant to the Court’s October 13, 2020 Opinion and
Order (the “October Order”), which denied the defendant’s claims stemming from the
Government’s late production of three electronic devices. Following an evidentiary hearing, the
Court concluded that the belated production “was not deliberate, but inadvertent,” and identified
failures by this Office and the Federal Bureau of Investigation (“FBI”) that contributed to the
unintentional delay. (Dkt. 143 at 2, 15, 25 n.6). The Court directed the leadership of this Office
and FBI New York’s Criminal Investigative Division to confer regarding steps to prevent a
recurrence of these mistakes and report to the Court on corrective action. (Id. at 25).

        The October Order specifically cited breakdowns in communication between case agents
and AUSAs, insufficient policies to ensure compliance with disclosure obligations, and
inadequate unit-chief supervision of disclosure as contributors to the devices’ delayed
production. (See Dkt. 143 at 25 n.6 (citing United States v. Nejad, 18 Cr. 224 (AJN), 2020 WL
5549931 (S.D.N.Y. Sept. 16, 2020), at * 6)). As discussed below, we have implemented policy
changes to mitigate the risk of poor communication and facilitate appropriate AUSA and
supervisory attention to disclosure considerations from the earliest stages of our prosecutions.
We have also conducted disclosure training for agents and prosecutors and instituted additional
AUSA training on an ongoing basis, emphasizing the need for “prudent and timely” attention to
these responsibilities. (Cf. id. at 2). Recognizing that addressing this Court’s concerns, as well
as related issues that surfaced in other prosecutions, requires sustained engagement, we
established a standing Disclosure Committee, led by a unit chief and deputy chief of the Criminal
Division, and staffed by senior AUSAs, which is helping oversee our policy changes’
implementation, assess their effectiveness, and develop further improvements. A Technology
Working Group is complementing the Disclosure Committee’s efforts by exploring ways to
enhance our technological and administrative infrastructure for data management and disclosure.
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 The Honorable P. Kevin Castel                                                             Page 2
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        Our corrective actions began with a concerted effort to understand the underlying
failures. Informed by the problems that arose in this case, as well as concerns highlighted by the
Court in other prosecutions (see generally Nejad, 2020 WL 5549931), I and other executive staff
members oversaw an analysis of disclosure-related failures. This assessment formed the
framework for meetings between the executive staff and the leadership of each unit in the
Office’s Criminal Division, aimed at identifying flaws in current procedures, as well as best
practices for data management and disclosure. Unit chiefs continued these conversations within
their units, to ensure engagement on these issues at all levels of the Office and that our review
benefitted from line AUSAs’ perspectives.

        Based on what we learned through this process, we developed and have implemented
policy changes aimed at addressing the concerns articulated in the October Order. Among other
things, our revisions require expanded AUSA review of agency case files; more robust written
memorialization surrounding AUSA transitions between units and cases; and increased
discussion and documentation of disclosure-related considerations—including potential defense
theories—in advance of any charges. These changes augment and reinforce updates to our
discovery policy that we made in 2018.

        Mindful of the Court’s concern that the prosecution team was insufficiently attentive to
disclosure obligations (e.g., Dkt. 143 at 2), we have also deployed additional disclosure-related
training for AUSAs and FBI agents. This past summer, we conducted Office-wide discovery
training for all AUSAs and SAUSAs. More recently, we instituted unit-specific disclosure
training by unit chiefs for new unit members, to prepare them for distinct issues presented by
each unit’s subject matter and agency partners. In recent months, FBI New York worked closely
with us to develop and conduct training for FBI personnel, which emphasized all prosecution
team members’ disclosure obligations and best practices for complying with them. These efforts
culminated in November 2020 training sessions in which more than 1,375 FBI New York
personnel participated. This joint training was in addition to mandatory discovery training
conducted on an annual basis by FBI personnel.

        We recognize that continued attention to these issues is required to ensure that the steps
we have taken achieve the desired effects. With that in mind, we established the standing
Disclosure Committee and tasked it with helping to oversee the implementation of the policies
described above, evaluating those policies’ effectiveness, considering further policy
improvements, conducting training for additional law enforcement agencies, and developing
supplemental resources and trainings for AUSAs on an ongoing basis. The Committee will also
be identifying opportunities to cultivate and reinforce AUSAs’ commitment to resolving any
issues that do arise promptly and forthrightly. (Cf. id. at 15 (noting that the Government
“brought the non-production of the Devices to light without external prompting”)). We believe
that sustained engagement by the Disclosure Committee, in partnership with executive staff, will
help us find lasting solutions to existing problems and anticipate future issues before they arise.

        In addition, the Technology Working Group, in collaboration with our executive and
administrative staff, is evaluating potential technological and administrative improvements to
this Office’s data management and disclosure practices. Based on their recommendations, we
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 The Honorable P. Kevin Castel                                                              Page 3
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will assess whether and how new investments in technology and support staff can strengthen our
performance in this area and further address the Court’s concerns. In a similar vein, consistent
with national policy, this Office, and our federal law enforcement agency partners, have also in
recent months designated eLitigation coordinators to help confront and address the challenges
that increasing volumes of electronically stored information pose to federal law enforcement.

                                         *       *       *

         This Office holds itself to the highest ethical standards. We believe that our corrective
actions have reduced the possibility that future prosecutions will suffer from the issues that arose
in this case, and that our commitment to assessing and implementing additional improvements
will further mitigate that risk. As we strive to avoid any issues, we are also mindful that even
conscientious and hard-working prosecutors and agents can make mistakes. When such
problems do arise, the Court should expect our AUSAs to disclose them promptly and work
diligently to fix them—and the Office to do its part to identify and address the errors’ root
causes. Our responsibilities require nothing less.

                                              Respectfully submitted,



                                              ___________________________
                                              Audrey Strauss
                                              Acting United States Attorney



   cc Honorable Alison J. Nathan (by ECF)
